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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN

MATTHEW EVANS,

        Petitioner,
                                                      Case No. 20-cv-839-bbc
   v.

UNITED STATES OF AMERICA,

        Respondent.


                           JUDGMENT IN A CIVIL CASE


        IT IS ORDERED AND ADJUDGED that judgment is entered in favor of

respondent United States of America against petitioner Matthew Evans denying

Evans’ motion for post conviction relief under 28 U.S.C § 2255 as untimely and

dismissing this case.




        s/ K. Frederickson, Deputy Clerk                 September 22, 2020
        Peter Oppeneer, Clerk of Court                         Date
